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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 20-CV-81205-Ruiz/Reinhart


  SECURITIES AND EXCHANGE
  COMMISSION,

                                    Plaintiff,

  vs.


  COMPLETE BUSINESS SOLUTIONS
  GROUP, INC. d/b/a PAR FUNDING, et al.,

                          Defendants.
  _________________________________/

                  REPORT AND RECOMMENDATION REGARDING
                      RECEIVER’S FIRST APPLICATION FOR
              ALLOWANCE AND PAYMENT OF PROFESSIONALS’ FEES AND
                   REIMBURSEMENT OF EXPENSES (ECF No. 438)

          THIS CAUSE is before this Court upon an Order referring the motions related to the

  Receiver’s fee application to the undersigned for appropriate disposition. ECF No. 451.

          Currently before the Court is the First Application (the “Application”) for Allowance and

  Payment of Professionals’ Fees and Reimbursement of Expenses for July 27, 2020 through

  September 30, 2020, submitted by Ryan K. Stumphauzer, Esq., the Court-Appointed Receiver

  (“Receiver”) of the Receivership Entities.1 ECF No. 438. The Court has reviewed the Application

  and the record and is otherwise fully advised.




  1The “Receivership Entities” are Complete Business Solutions Group, Inc. d/b/a Par Funding (“Par Funding”); Full
  Spectrum Processing, Inc.; ABetterFinancialPlan.com LLC d/b/a A Better Financial Plan (“ABFP”); ABFP
  Management Company, LLC f/k/a Pillar Life Settlement Management Company, LLC; ABFP Income Fund, LLC;
  ABFP Income Fund 2, L.P.; United Fidelis Group Corp.; Fidelis Financial Planning LLC; Retirement Evolution
  Group, LLC;, RE Income Fund LLC; RE Income Fund 2 LLC; ABFP Income Fund 3, LLC; ABFP Income Fund 4,
  LLC; ABFP Income Fund 6, LLC; ABFP Income Fund Parallel LLC; ABFP Income Fund 2 Parallel; ABFP Income
  Fund 3 Parallel; ABFP Income Fund 4 Parallel; and ABFP Income Fund 6 Parallel; ABFP Multi-Strategy Investment
  Fund LP; ABFP Multi-Strategy Fund 2 LP; and MK Corporate Debt Investment Company LLC.
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         This case involves a complex receivership. In the six months since the SEC filed this action,

  the Receiver and his professional team have expended considerable effort in managing the

  receivership entities. The professionals have provided valuable services, including obtaining

  access to and reviewing records, issuing subpoenas, responding to investor inquiries, investigating

  potential claims against third parties, overseeing the day-to-day operations of Par Funding through

  an operations consultant, conducting witness interviews, communicating with the Defendants,

  drafting status reports – all to the benefit of the investors and creditors. Considering the work

  performed and the results achieved thus far, I find that the amount requested is reasonable and

  justified by the Application and exhibits attached thereto.

                               REPORT AND RECOMMENATION

         Accordingly, this Court RECOMMENDS that the District Court GRANT the Application

  for Fees as follows:

                 Professional fees                      $2,073,116.31

                 Expenses                               $81,902.33

                 TOTAL                                  $2,155,018.64



                                NOTICE OF RIGHT TO OBJECT

         A party shall serve and file written objections, if any, to this Report and Recommendation

  with the Honorable Rodolfo A. Ruiz, United States District Court Judge for the Southern District

  of Florida, within FOURTEEN (14) DAYS of being served with a copy of this Report and

  Recommendation. Failure to timely file objections shall constitute a waiver of a party's "right to

  challenge on appeal the district court’s order based on unobjected-to factual and legal

  conclusions." 11th Cir. R. 3-1 (2016).




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         If counsel do not intend to file objections, they shall file a notice advising the District

  Court within FIVE DAYS of this Report and Recommendation.




         DONE AND SUBMITTED in Chambers this __ day of February, 2021 at West Palm

  Beach in the Southern District of Florida.




                                                              BRUCE REINHART
                                                              United States Magistrate Judge



  cc:    Counsel of Record




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